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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
VS.                                              §   CRIMINAL ACTION NO. C-07-628-10
                                                 §
MICHAEL PYLES                                    §


               ORDER DENYING MOTION TO SUBSTITUTE COUNSEL

               On this day came on to be considered the motion of Defendant Michael Pyles to

allow him to substitute counsel in this cause (D.E. 83). For the reasons stated in Magistrate

Judge Brian L. Owsley’s Order signed on December 18, 2007, Defendant Pyles’ motion is

DENIED.


               SIGNED and ORDERED this 20th day of December, 2007.


                                                 ___________________________________
                                                          Janis Graham Jack
                                                       United States District Judge




1/1
